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                        UNITED STATES BANKRUPTCY COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION


 IN RE:
 TIMOTHY EARLE NEWELL
                                                        CASE NO. 18-31850
 CHRISTIE DIANNE NEWELL
                                                        CHAPTER 7
 (AKA Christie Rochester Newell)
                      DEBTORS


             MOTION FOR RELIEF FROM AUTOMATIC STAY (PROPERTY)
                OR IN THE ALTERNATIVE ADEQUATE PROTECTION
                              {No Protest Motion}

        Pacific Union Financial, LLC (“Creditor”), a secured creditor in the above-captioned case,

hereby moves this Court, pursuant to 11 U.S.C. § 362, for relief from the automatic stay or in the

alternative for adequate protection with respect to certain property having an address of 4006

Secrest Short Cut Road, Monroe, North Carolina 28110 (the “Property”), for all purposes allowed

by the Note (defined below), the Deed of Trust (defined below), and applicable law, including but

not limited to the right to foreclose. In further support of this Motion, Creditor respectfully states:

        1.     On or about December 13, 2018 (the “Petition Date”), Timothy Earle Newell and

Christie Dianne Newell (the “Debtors”) filed a petition under Chapter 7 of Title 11 of the U.S.

Code.

        2.     This Court has jurisdiction to hear this matter and enter a final order pursuant to 28

U.S.C. §§ 157 and 1334; and 11 U.S.C. § 362.

        3.     On or about September 17, 2012, Christie R. Newell and Nicholas L. Rochester, Jr.

executed that certain Note in the original principal amount of $150,228.00 (the “Note”). A copy

of the Note is attached hereto as Exhibit “A.”
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       4.      Pursuant to that certain Deed of Trust recorded in the Union County, North Carolina

Register of Deeds in Book 05828 at Page 0390 (the “Deed of Trust”), all amounts owed under and

with respect to the Note (the “Obligation”) are secured by the Property. A copy of the Deed of

Trust is attached hereto as Exhibit “B.”

       5.      Mr. Cooper services the Obligation. In the event the automatic stay is modified,

this case dismisses, and/or the debtor obtains a discharge and a foreclosure action is commenced

on the Property, the foreclosure will be conducted in the name of Pacific Union Financial, LLC.

Creditor is the original mortgagee or beneficiary or the assignee of the security instrument for the

referenced loan. Creditor, directly or through an agent, has possession of the Note.

       6.      Upon information and belief, the Property is being surrendered.

       7.      The estimated market value of the Property is $177,000.00. The basis for such

valuation is Schedule A.

       8.      Upon information and belief, the payoff amount as of February 1, 2019 is

$182,974.67.

       9.      Cause exists for relief from the automatic stay pursuant to 11 U.S.C. § 362(d)(1)

because Creditor’s interest in the Property is not adequately protected.

       WHEREFORE, Creditor prays that this Court issue an Order terminating or modifying the

stay and granting the following:

       1.      Relief from the stay for all purposes allowed by the Note, the Deed of Trust, and

applicable law, including but not limited to allowing Creditor (and any successors or assigns) to

proceed under applicable non-bankruptcy law to enforce its remedies to foreclose upon and obtain

possession of the Property and any and all other collateral pledged under the Deed of Trust.

       2.      That the 14-day stay described by Bankruptcy Rule 4001(a)(3) be waived.
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       3.      Creditor specifically requests permission to communicate with the Debtors and

Debtors' counsel to the extent necessary to comply with applicable nonbankruptcy law.

       4.     In the alternative, Creditor requests that this Court enter an order providing Creditor

with adequate protection of its interests in the Property.

       5.     For such other relief as the Court deems proper.

       This 14th day of March, 2019.


                                            /s/ Neil D Jonas
                                            Neil D Jonas (N.C. Bar No. 31622)
                                            Attorney for Creditor
                                            8757 Red Oak Blvd., Suite 150
                                            Charlotte, NC 28217
                                            704-369-0676
                                            ncbkr@brockandscott.com
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                      WESTERN DISTRICT OF NORTH CAROLINA
                             CHARLOTTE DIVISION


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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies under penalty of perjury that he/she is over eighteen (18)
years of age and that the MOTION FOR RELIEF FROM AUTOMATIC STAY AND NOTICE
OF MOTION in the above captioned case were this day served upon the below named persons by
mailing, postage prepaid, first class mail a copy of such instrument to each person(s), parties,
and/or counsel at the addresses shown below:

Timothy Earle Newell
3827 Helmsville Road
Monroe, NC 28110

Christie Dianne Newell
3827 Helmsville Road
Monroe, NC 28110

Marcus D Crow
315-B North Main Street
Monroe, NC 28112

Frederick L. Henderson
518 S. New Hope Rd.
Gastonia, NC 28054

This 14th day of March, 2019.


                                                            /s/ Neil D Jonas
                                                            Neil D Jonas
                                                            8757 Red Oak Blvd., Suite 150
                                                            Charlotte, NC 28217
                                                            704-369-0676
                                                            bankruptcy@brockandscott.com
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                      WESTERN DISTRICT OF NORTH CAROLINA
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 IN RE:
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                                                     CASE NO. 18-31850
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              NOTICE OF MOTION AND OPPORTUNITY FOR HEARING
                   {No Protest Motion Pursuant to 11 U.S.C. § 362}

    TO THE DEBTOR, DEBTOR’S ATTORNEY, TRUSTEE AND ALL PARTIES IN
                              INTEREST

       THIS NOTICE IS HEREBY GIVEN of a Motion for Relief from Automatic Stay filed
simultaneously herewith in the above-captioned case, a copy of which is attached to herein, and;

        NOTICE IS FURTHER GIVEN that this motion may be allowed pursuant to U.S.C. §
362(e) without a hearing or further notice provided no response and request for a hearing is made
by the parties in interest in writing to the U.S. Bankruptcy Court Clerk of Court 401 West
Trade Street Room 111, Charlotte, NC 28202 within FOURTEEN (14) DAYS from the date of
this notice, and;

        NOTICE IS FURTHER GIVEN that if a response and request for a hearing is filed by a
party in interest named herein, in writing within the time indicated, a hearing will be conducted
in the Charlotte Division of the U.S. Bankruptcy Court Western District of North Carolina,
401 West Trade Street Room C1-4, Charlotte, NC 28202 on April 8, 2019 at 9:30 AM. If no
response for a hearing is timely filed, this Court may rule on the Motion exparte without further
notice. Any party requesting a hearing shall appear at the hearing in support of such an objection
or may be assessed with costs of Court.

This 14th day of March, 2019.
                                                    Brock and Scott, PLLC

                                                    /s/ Neil D Jonas
                                                    Neil D Jonas (N.C. Bar No. 31622)
                                                    8757 Red Oak Blvd., Suite 150
                                                    Charlotte, NC 28217
                                                    704-369-0676
                                                    bankruptcy@brockandscott.com
EXHIBIT       A
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    EXHIBIT B
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